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      Federal Defender
2     HANNAH R. LABAREE, Bar #294338
      Assistant Federal Defender
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5
6     Attorneys for Defendant
      OSCAR PADILLA
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8
                                         UNITED STATES DISTRICT COURT
9
                                      EASTERN DISTRICT OF CALIFORNIA
10
11    UNITED STATES OF AMERICA,                           Case No. 2:07-cr-248-17 WBS
12
                            Plaintiff,                    STIPULATION AND [PROPOSED] ORDER
13                                                        TO EXTEND BRIEFING SCHEDULE
              v.
14                                                        Judge: Honorable WILLIAM B. SHUBB
      OSCAR PADILLA,
15
                            Defendant.
16
17
              Defendant Oscar Padilla, by and through his attorney, Assistant Federal Defender
18
      Hannah R. Labaree, and plaintiff, United States of America, by and through its counsel,
19
      Assistant U.S. Attorney Jason Hitt, hereby stipulate to extend the briefing schedule previously
20
      set (CR 1408). In light of United States v. Davis, No. 13-30133, 2016 WL 3245043 (9th Cir.
21
      June 13, 2016), the defense supplement to the Motion to Reduce Sentence shall be filed no later
22    than August 15, 2016; the government reply shall be filed no later than August 29, 2016; and an
23    optional defense response shall be filed no later than September 6, 2016.
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      Stipulation and Order to extend briefing schedule    1
     Case 2:07-cr-00248-WBS-DB Document 1417 Filed 07/20/16 Page 2 of 3



1     Respectfully submitted,
2     Dated: July 15, 2016                                Dated: July 15, 2016
3     BENJAMIN B. WAGNER                                  HEATHER E. WILLIAMS
      United States Attorney                              Federal Defender
4
       /s/ Jason Hitt                                     /s/ Hannah R. Labaree
5     JASON HITT                                          HANNAH R. LABAREE
      Assistant U.S. Attorney                             Assistant Federal Defender
6
      Attorney for Plaintiff                              Attorney for Defendant
7     UNITED STATES OF AMERICA                            OSCAR PADILLA
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      Stipulation and Order to extend briefing schedule      2
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1                                                         ORDER
2             Pursuant to the parties’ stipulation, and good cause appearing therefor, the briefing
3     schedule is extended as follows: Defense supplement is due on August 15, 2016, the
4     government’s reply is due on August 29, 2016 and an optional defense response is due on
5     September 6, 2016.
6     Dated: July 19, 2016
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      Stipulation and Order to extend briefing schedule     3
